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                            UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION                                         4!q! COtRI
                                                                                                 :1-

JEANE BOLIN                                      §
     Plaintiff,                                  §
                                                 §
vs.                                              §          1 :17-cv-00364-SS

                                                 §          Civil Action Number
STATE AUTOMOBILE MUTUAL                         §
INSURANCE COMPANY                                §
     Defendant.                                  §          Jury
                                                 §


                         ORDER FOR DISMISSAL WITH PREJUDICE

        ON this the            day of    t   16,2O17,      came on to be considered the Parties'

Agreed Motion for Dismissal with Prejudice, and the Court having considered said Motion, and

being of the opinion that the same should be granted; it is accordingly,

        ORDERED, ADJUDGED and DECREED by the Court that Plaintiff Jeane Bolin's

claims and causes of action against Defendant, State Automobile Mutual Insurance Company,

be and the same are hereby dismissed, with prejudice and at the cost of party incurring same.



        SIGNED this       /    day of    iC r6-'-?2O17.



                                                     UNITED STATE4MSTRICT JUDGE



APPROVED:



/s/ Mike   O'Brien
Mike O'Brien
Mike O'Brien, P.C.
State Bar No. 15170200
14355 Highway 105



Order for Dismissal With Prejudice                                                          Page   1




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                                   .                    .

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ATTORNEY FOR DEFENDANT,
STATE AUTOMOBILE MUTUAL
INSURANCE COMPANY




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